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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
                       _____________________________________

GEORGE ANIBOWEI,

        Plaintiff,

v.                                              Civil Action No. 3:16-CV-3495-D

JEFFERSON B. SESSIONS, et al.,

        Defendants.

                                         ORDER

        Before the court is the parties’ Joint Motion to Stay Deadlines, filed on March 22,

2018.     The Court concludes that the motion should be, and is hereby, granted.

Accordingly, the March 23, 2018 deadlines for completing discovery and filing summary

judgment motions are stayed.

        SO ORDERED.

        March 22, 2018.

                                                 _______________________________
                                                 SIDNEY A. FITZWATER
                                                 UNITED STATES DISTRICT JUDGE
